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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

JOY BANNER, Ph.D.                                                  CIVIL ACTION

VERSUS                                                             NO. 23-7296-NJB-KWR

MICHAEL WRIGHT, individually and in official                       SECTION: “G”(4)
capacity, et al.

                                 MOTION FOR SANCTIONS

       NOW INTO COURT, through undersigned counsel, comes Plaintiff Joy Banner who files

this motion requesting this Court to sanction Defendant Jaclyn Hotard for her failure to produce

discovery and for lying under oath.

       As described more fully in the attached memorandum, Plaintiff requested in discovery

correspondence between Defendant Hotard and her mother-in-law, Darla Gaudet. Plaintiff

responded that no such documents exist. But Plaintiff has since obtained directly responsive

correspondence through a subpoena which not only shows that Defendant Hotard was untruthful

in her discovery response, but also in her sworn deposition testimony.

       Plaintiff requests attorneys fees and the ability to re-depose Defendant Hotard on the

specific discovery topics as a sanction for her behavior.

       WHEREFORE Plaintiff Joy Banner requests that this Court sanction Defendant Jaclyn

Hotard by 1) awarding attorneys fees, and 2) re-opening her deposition.

                                               Respectfully submitted,

                                              /s/ Dave Lanser
                                              Dave Lanser (La. Bar No. 37764)
                                              William Most (La. Bar No. 36914)
                                              Most & Associates
                                              201 St. Charles Ave., Ste. 2500, #9685
                                              New Orleans, LA 70170
                                              T: (504) 533-4521
                                              F: (504) 414-6400
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                              Email:
                              david.lanser@gmail.com
                              williammost@gmail.com
                              Attorneys for Plaintiff Joy Banner, Ph.D




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